Case 8:19-cr-00033-CEH-CPT Document 122-1 Filed 05/22/20 Page 1 df 2 PagelD 599

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
v.

JACK R. DOVE, III

Defendant.

CASE NO. 8:19-cr-33-T-36CPT

ORDER GRANTING “DEFENDANT’S MOTION TO FILE EXHIBITS F AND G TO
‘DEFENDANT’S REPLY TO UNITED STATES’ RESPONSE IN OPPOSITION TO

DEFENDANT’S MOTION TO FOR A HEARING PURSUANT TO F;
DELAWARE ” (Doc. 117) UNDER SEAL”

THIS CAUSE has come on for consideration of “Defendant’s Motion

KS V.

to File Exhibits F and G to ‘Exhibits F and G to ‘Defendant’s Reply to United States’ Response

in Opposition to Defendant’s Motion to for a Hearing Pursuant to Franks v. Dela

117) Under Seal.”

UPON DUE CONSIDERATION, it is hereby ORDERED and ADJUDGI
motion is GRANTED.
DONE AND ORDERED this day of May, 2020.

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ED that this

Hon. Christopher P. Tuite

United States Magistrate Judge

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